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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NATHSON E. FIELDS,                               )
                                                 )
                      Plaintiff,                 )
                                                 )
               v.                                )   Case No. 10 C 1168
                                                 )
CITY OF CHICAGO, COUNTY OF COOK;                 )   Judge Matthew F. Kennelly
former Assistant State’s Attorneys LARRY         )
WHARRIE and DAVID KELLEY; former and             )   Magistrate Judge Geraldine Soat Brown
current Chicago Police Officers DAVID            )
O’CALLAGHAN THOMAS RICHARDSON,                   )
STEPHEN CASTO, JAMES MINOGUE,                    )
JOSEPH BOGDALEK, JOSEPH MURPHY,                  )
STEVEN HOOD, JAMES DELANEY,                      )
ROBERT EVANS, DANIEL BRANNIGAN,                  )
JOHN ROBERTSON, RICH KOBEL, and                  )
RICHARD KOLOVITZ,                                )
                                                 )
                      Defendants.                )

        CITY DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO BAR
               DEFENDANTS FROM CALLING TEN WITNESSES

       Defendants the City of Chicago, David O’Callaghan, Thomas Richardson, Stephen Casto,

James Minogue, Joseph Bogdalek, Joseph Murphy, Stephen Hood, Robert Evans, Daniel

Brannigan, John Robertson, Richard Kobel, and Richard Kolovitz (“City Defendants”), by and

through their attorney, Terrence M. Burns of Dykema Gossett, PLLC, for their response to

“Plaintiff’s Motion to Bar Defendants From Calling Ten Newly Disclosed Witnesses” (Dkt.

#367) (hereinafter, “Motion to Bar”) state:

                                       INTRODUCTION

       Plaintiff does not dispute that the disclosures of ten individuals in the City Defendants’

Fifth Supplemental Rule 26(a)(1) Disclosures comply with Rule 26(a)(1). Yet, plaintiff seeks to

bar all ten of the properly disclosed individuals because he contends the disclosures, made two
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months before the close of discovery, are untimely under Rule 26(e). These disclosures were

timely made on May 1, 2013 when defendants learned that their prior disclosures were

incomplete without these ten witnesses. Plaintiff fails to establish that defendants’ supplemental

disclosures violate Rule 26(e).

        Moreover, even if defendants had violated Rule 26(e), which they did not, sanctions

should not be imposed under Rule 37(c)(1) because plaintiff is not harmed by having “only”

sixty days to take ten depositions. Plaintiff dubiously claims this task will be impossible. (Mot.

to Bar ¶ 9.) So, rather than starting to secure the depositions or holding the requisite “meet and

confer” with defendants’ counsel to determine how this situation could be addressed outside of

Court, plaintiff seeks the severe remedy of excluding all ten witnesses at trial. Because plaintiff

has not shown that defendants have violated Rule 26(a)(1) or Rule 26(e), or that a sanction under

Rule 37(c)(1) is warranted, plaintiff’s Motion to Bar should be denied.

                                          DISCUSSION

I.      Plaintiff Does Not Comply With Local Rule 37.2.

        Plaintiff’s Motion to Bar does not include a certification, pursuant to Rule 37(a)(1) and

Local Rule 37.2, that plaintiff attempted in good faith to confer with defendants’ counsel in

person or by telephone regarding the Rule 26(a)(1) disclosures. Indeed, plaintiffs’ counsel made

no attempt to “meet and confer.” In defendants’ counsel’s May 13, 2013 letter (attached to the

Motion to Bar as Ex. D), Mr. Noland stated that he is willing to speak with plaintiff’s counsel

regarding defendants’ supplemental disclosures, but asked that counsel also consider providing

more information regarding certain witnesses listed on plaintiff’s amended Rule 26(a)(1)

disclosures. In plaintiff’s disclosures, plaintiff does not include any information for thirty-three

of his disclosed witnesses, other than this heading: “[i]ndividuals whose names appear in ‘new’

street file or in el Rukn court cases.” (Plaintiff’s Amended Rule 26(a)(1) Disclosures (attached



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hereto as Exhibit A), at ¶¶ 69-106.) In response to Mr. Noland’s letter, rather than attempting to

contact Mr. Noland to discuss the matter, plaintiff filed the Motion to Bar. This tactic is contrary

to the spirit of Local Rule 37.2. Plaintiff’s Motion to Bar should be denied on this basis alone.

II.      Plaintiff Admits Defendants’ Fifth Supplemental Disclosures Comply With Rule
         26(a)(1).

         Rule 26(a)(1) requires a party to disclose, among other things, “each individual likely to

have discoverable information—along with the subjects of that information—that the disclosing

party may use to support its claims or defenses, unless the use would be solely for

impeachment.” Fed. R. Civ. P. 26(a)(1)(A). As plaintiff concedes (Mot. to Bar ¶ 7), the City

Defendants’ Fifth Supplemental Rule 26(a)(1) Disclosures provide the requisite information

under Rule 26(a)(1)(A). (See Ex. B to Motion to Bar.) The disclosures provide plaintiff with

sufficient notice as to the subject of each of the witnesses’ information so that plaintiff’s counsel

may evaluate whether to take his or her deposition.           Although not required by the Rules,

defendants’ counsel was also willing to discuss the supplemental witnesses and their information

with plaintiffs’ counsel, but asked that plaintiff’s counsel also be willing to discuss plaintiff’s

information-deficient disclosures. She apparently was not willing.

III.     Defendants’ Fifth Supplemental Disclosures Comply With Rule 26(e).

         Rule 26(e) requires a party that has made disclosures under Rule 26(a) to

         supplement or correct its disclosure . . . in a timely manner if the party learns that
         in some material respect the disclosure or response is incomplete or incorrect, and
         if the additional or corrective information has not otherwise been made known to
         the other parties during the discovery process or in writing . . . .

Fed.R.Civ.P. 26(e)(1)(A). Defendants supplemented their disclosures upon learning that they

may rely upon the supplemental witnesses’ information and that defendants’ Rule 26(a)(1)

disclosures may be incomplete without these witnesses. Contrary to plaintiff’s accusations,

defendants did not intentionally hold back in disclosing these witnesses.



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         Moreover, sixty days still remained in the discovery period when defendants disclosed

the ten witnesses. Cf. U.S. ex rel. Greg Hudalla v. Walsh Construction Company, No. 05 C

5930, 2012 WL 182206, * (Jan. 21, 2012 N.D. Il.) (Kennelly, J.) (eight months after the close of

discovery and five weeks before trial, defendant disclosed forty-seven witnesses that were not

previously disclosed; Court barred most, but not all, witnesses). Plaintiff declares in his Motion,

“[o]bviously, Plaintiff could not possibly secure relevant investigative information for the 10

new witnesses and serve notices of depositions in the short time that remains before discovery

ends.”      (Mot. to Bar ¶ 9.)   Discovery closes July 1, 2013—plenty of time to review the

documents available mentioning these individuals and/or take the depositions of ten witnesses.

Notably, other than the defendants in the case and police officers who responded to the scene,

plaintiff has not taken the deposition of any of the other law enforcement witnesses disclosed by

defendants. Rather than beginning to secure the depositions in the remaining time, review the

available documents relating to these witnesses, or speaking with counsel about the witnesses,

plaintiff seeks the disproportionate sanction of barring all ten witnesses at trial pursuant to Rule

37(c)(1).

         The Court should not need to consider Rule 37 because plaintiff has not shown that

defendants’ supplemental disclosures violate either Rule 26(a)(1) or Rule 26(e). But even if

Rule 37 were to be considered, the standard for imposing sanctions under the Rule is not met

here. Under Rule 37(c)(1), witnesses not identified according to the requirements of Rule 26(a)

shall not be permitted to testify “unless the party to be sanctioned can show that its violation of

Rule 26(a) was either justified or harmless.” Finley v. Marathon Oil Co., 75 F.3d 1225, 1230

(7th Cir.1996). “The determination of whether a Rule 26(a) violation is justified or harmless is

entrusted to the broad discretion of the district court.” Mid–America Tablewares, Inc. v. Mogi




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Trading Co., Ltd., 100 F.3d 1353, 1363 (7th Cir.1996). “A district court need not make explicit

findings concerning the existence of a substantial justification or the harmlessness of a failure to

disclose.” David v. Caterpillar, Inc., 324 F.3d 851, 857 (7th Cir. 2003) (quoting Woodworker's

Supply, Inc. v. Principal Mut. Life Ins. Co., 170 F.3d 985, 993 (10th Cir. 1999)).

       It is clear that the timing of defendants’ supplemental disclosures, in addition to being

entirely proper under Rule 26(c) and Rule 26(e), is both justified and harmless. The timing is

justified because defendants promptly made the disclosures when they recognized they may be

relying on the information and that their disclosures may be incomplete without these witnesses.

The timing is harmless because plaintiff cannot show he has been harmed by having two months

to review previously produced documents or take ten depositions, particularly given that the trial

is not until March 2014. Plaintiff’s Motion to Bar should be denied in its entirety.

IV.    In the Alternative, if Defendants’ Witnesses Are Barred, Plaintiff’s Thirty-Three
       Witnesses Should Be Barred.

       Rule 26 is not a one-way street. Should the Court decide to bar any of defendants’

recently disclosed witnesses as inadequately disclosed, the Court necessarily should consider

barring the thirty-three witnesses in plaintiff’s deficient Rule 26(a) disclosures (Ex. A, at ¶¶ 69-

106). Few cases address the specificity required under Rule 26(a)(1)(A), but the Rule plainly

states that the party must disclose “the name . . . of each individual likely to have discoverable

information that the disclosing party may use to support its claims or defenses, unless solely for

impeachment, identifying the subjects of the information.” See Fed. R. Civ. P. 26(a)(1)(A)

(emphasis added). Plaintiff’s disclosures do not include such information. The disclosures only

make a broad reference to the source of the thirty-three witness names: “in the ‘new’ street file or

in El Rukn court cases” (without identifying which appear in which). Moreover, plaintiff’s

counsel would not even agree to discuss plaintiff’s insufficient disclosures when defendants’




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counsel offered to meet and confer regarding defendants’ own sufficient and Rule-compliant

disclosures. Adoption of the draconian view of the disclosure requirements of Rule 26 as

espoused by plaintiff would not bode well for his own disclosures, which are patently non-

compliant.

       For all the reasons set forth above, plaintiff’s Motion to Bar should be denied or, in the

alternative, if the Court should bar any of defendants’ supplemental witnesses, the thirty-three

witnesses in plaintiff’s disclosures should be barred as well.

Dated: May 28, 2013                                  Respectfully submitted,


                                             By: s/ Daniel M. Noland
                                                 One of the Attorneys for City Defendants
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2013, I electronically filed the foregoing City

Defendants’ Response to Plaintiff’s Motion to Bar Defendants from Calling Ten Witnesses

with the Clerk of the Court using the ECF system, which sent electronic notification of the filing

on the same day to:

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                                                  s/ Daniel M. Noland
                                                  Daniel M. Noland
